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                     UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF OKLAHOMA


 VANCE DOTSON                                    JURY TRIAL DEMANDED

              Plaintiff,

                                                 Case No. CIV-22-255-G
 V.




 CREDIT COLLECTION SERVICES

              Defendant.

                                                              mar 2 8 2022
                                                      .,9ARMEUTAREEDERSHINN clPPk-
                                                              ^          —.DEPUTY


               COMPLAINT AND DEAIAND FOR JURY TRIAL



                           I.    INTRODUCTION


1.    This is a civil action for actual, statutory damages, and costs brought by
      Vance Dotson( Plaintiff) an individual consumer, against Defendant,
      Credit Collection Services C'CCS") for violations of the Fair Debt
      Collection Practices Act, 15 U.S.C § 1692 et seq.(hereinafter "FDCPA"),
      which prohibits debt collectors from engaging in abusive, deceptive, and
      unfair p):actices.


                     II.   JURISDICTION AND VENUE
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2.   Jurisdiction of this court arises under 15 U.S.C § 1692k(d).
             a'

3.   Jurisdiction of this court also arises 28 U.S.C § 1331.

4.   Venue iji this District is proper in that the Defendants transact business

     in Oklahoma City, Oklahoma County, Oklahoma, and the conduct

     complained ofoccurred in Oklahoma City, Oklahoma County, Oklahoma.
             6:\




                               m.    PAETIBS
            1^'

5.   Plaintiff Vance Dotson (hereinafter "Mr. Dotson") is a natural person
            '■V

     residing in Oklahoma City, Oklahoma County, Oklahoma. Mr. Dotson is
     a consumer as defined by the Fair Debt Collection Practices Act, 16
            i '•



     U.S.C. §1692a(3). Mr. Dotson has been assigned 100 percent of these
     claim(s) by Tieshia Bowie.

6.   Tieshia jBowie is allegedly obligated to pay an obligation to pay money
            r'f




     arising-but of a transaction in which the money, property, insurance, or
     service^' which are the subject of the transaction are primarily for
     personnel, family, or household purposes. Ms. Bowie is allegedly obligated
     to pay d "Debt" as defined byl5 usc§1692a(5).
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 7.    Upon information and belief; Defendant, Credit Collection Services is a
       Massachusetts corporation with its principal place of business located at
       725 Canton Street, Norwood, MA 02062.

       Defendant, Credit Collection Services are engaged in the collection of
       debt from consumers using mail and telephone. Defendants regularly
       attempfto collect consumers'debts alleged to be due to other companies.
                      IV. FACTS OF THE COMPLAINT
              f)




9. Defendant, Credit Collection Services (hereinafter referred to as "Debt
   Collector") are a "debt collector" as defined by the FDCPA, 15 U.S.C §
      1692a(6).


10. On or about July 2,2021, Ms.Bowie reviewed her credit report on "Credit
      Karma."' Ex.1
              'i



11. On the report, Ms.Bowie observed trade lines from all the Debt Collector
      Defendant.
              /




12. Debt Coiector Credit Collection Services furnished a trade Hne of$182,
      allegedlv owed to Liberty Mutual Insurance Company.




             f\]
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 13. Also on July 2, 2021, Ms. Bowie made disputes via telephone about the
       accounts in question. However,on March 27,2022, Ms. Bowie re-checked
       her credit reports and although the Debt Collectors had several
       communications with the consumer reporting agencies, the Debt
       Collectpp failed to communicate the alleged debts in question were
       dispute^d by the Ms. Bowie. Ex. 2

 14. The Debt Collector's publishing of such inaccurate and incomplete
      information has severely damaged the personal and credit reputation of
      Ms. Bowie and caused severe humiliation, emotional distress, mental
      anguish''and FICO scores.
                  /{
              I*'


15. Defendant materially lowered Plaintiffs credit score by failing to note
              t



      Ms. Bowie dispute.
             [l

16. A debt r|ported without dispute results in a much lower credit score than
      a report of both the debt and the dispute. Saunders v. Branch Banking
      and Tru?t Co. of VA,526 F. 3d 142, 146-47(4th Cir. 2008).

                         V.   FIRST CLAIM FOR RELIEF
                       (Defendant Credit Collection Services)
                                15 U.S.C. §1692e(8)
17. Plaintiff,re-alleges and reincorporates all previous paragraphs as iffully
     set out herein.
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 18. The Debt Collectors violated the FDCPA.

 19. The Debt Collectors' violations include, but are not limited to, the
       following-


       The Debt Collector violated 15 U.S.C § 1692e(8)of the FDCPA by
      to disclose to the consumer reporting agencies the alleged debt was in
      dispute.


20. As a result of the above violations of the FDCPA, the Defendants
                                                                         are


      liable to the Mr. Dotson actual damages, statutory damages and cost.



             Vl- JURY DEMAND AND PRAYER FOR RELIEF

      WHER^ORE,Plaintiff Mr. Dotson respectfully demands a jury trial
and requests that judgment be entered in favor ofPlaintiff and against the
Debt Collector for-


   A. Judgmeht for the violations occurred for violating the FDCPA;
  B. Actual damages pursuant to 15 U.S.C 1692k(l)(2);
  C. Statutory damages pursuant to 15 U.S.C 1692k(2);
  D. Cost and'pursuant to 15 U.S.C 1692k(3);


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   E. For a deletion and further relief as the Court may deem just and
                                                                         proper.




                                         Respectfully submitted-



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